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 8                         UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   JOSE F. ALVARADO,                                  Case No.: 20-CV-1485 W (AHG)
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13   v.                                                 MOTION TO DISMISS WITH
                                                        PREJUDICE [DOC. 16]
14   SERVICE KING PAINT & BODY, LLC
     (dba SERVICE KING COLLISION
15
     REPAIR CENTERS),
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17                                   Defendant.
18         Pending before the Court is a joint motion to dismiss this action with prejudice
19   pursuant to the parties’ settlement agreement. Good cause appearing, the Court
20   GRANTS the joint motion [Doc. 16] and ORDERS the case DISMISSED WITH
21   PREJUDICE.
22         IT IS SO ORDERED.
23   Dated: January 12, 2021
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                                                                              20-CV-1485 W (AHG)
